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                                                                                      ____ FILED ___ ENTERED
                                                                                      ____ LOGGED _____ RECEIVED

                       IN THE UNITED STATES DISTRICT COURT                           1:09 pm, Dec 03 2021
                          FOR THE DISTRICT OF MARYLAND                                AT BALTIMORE
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      DISTRICT OF MARYLAND
                                                                                      BY ______________Deputy
 UNITED STATES OF AMERICA

        v.                                                      21-mj-3245-ADC
                                                    Case No. ____________________
 AMAR SALIM SHABAZZ,
                                                    Under Seal
                     Defendant.




                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       Your Affiant, Michael Shao, being duly sworn, deposes and states the following:

                                        INTRODUCTION

1.     Your Affiant makes this affidavit in support of a Criminal Complaint charging Amar Salim

SHABAZZ with one count each of Mail Fraud (18 U.S.C. § 1341) and Obstruction of Justice (18

U.S.C. § 1519).


                                            AFFIANT

2.     Your Affiant is a Special Agent with Homeland Security Investigations (HSI) and has been

so employed since October 2010. Your Affiant has personally participated in numerous federal

investigations involving violations of federal criminal statutes including mail fraud, wire fraud and

conspiracy. Prior to your Affiant’s appointment with HSI, your Affiant was employed as a Special

Agent with the Internal Revenue Service – Criminal Investigation for approximately five years.

Your Affiant is a “federal law enforcement officer” within the meaning of Federal Rules of

Criminal Procedure 41(a)(2)(C).

3.     Your Affiant is familiar with the facts and circumstances of this investigation based upon

his review of the available information and also based upon information provided from others
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involved with the investigation currently being conducted, including investigators with the U.S.

Postal Inspection Service (USPIS), U.S. Health and Human Services – Office of Inspector General

(HHS-OIG), and the Baltimore County Police Department (BCPD). Your Affiant has not included

every fact known through the course of the investigation within this affidavit but has included

those facts your Affiant believes are sufficient to establish probable cause that the violations set

forth above have been committed and that the defendant named in the Criminal Complaint

committed them. All conversations and statements detailed in this affidavit are related in substance

and in part, unless otherwise indicated.


                                    STATEMENT OF FACTS

4.     This affidavit in support of a Criminal Complaint pertains to an ongoing investigation into

Amar Salim SHABAZZ (“SHABAZZ”) and a scheme involving the importation of bulk quantities

of fraudulent COVID-191 Vaccination Record Cards (hereinafter referred to as “COVID

vaccination cards”) into the United States and the subsequent sale and distribution of the cards for

personal gain.    Since June 2021,2 SHABAZZ has purchased over 600 fraudulent COVID

vaccination cards through a foreign online marketplace and caused the items to be unlawfully

imported into the United States. Once received, SHABAZZ offered the fraudulent COVID

vaccination cards for sale through multiple social media platforms including Instagram, Facebook,

and YouTube. SHABAZZ then distributed the vaccination cards he sold, including some via the

United Parcel Service (UPS).



1
  On March 11, 2020, the World Health Organization (WHO) designated COVID-19 as a
pandemic. On December 11, 2020, the U.S. Food and Drug Administration (FDA) issued the
first emergency use authorization (EUA) for a vaccine relating to COVID-19.
2
 All dates and times detailed within this affidavit are approximations. The words “on or about”
and “approximately” are omitted for brevity.
                                                 2
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                                    COVID Vaccination Cards

5.     Under normal circumstances, COVID vaccination cards are distributed by health care

providers to vaccine recipients at the time the recipient receives a COVID-19 vaccine. Information

documented on the vaccination card includes, inter alia, the vaccine recipient’s name, date of birth,

and the date(s) the vaccines were administered.

6.     The most widely recognized COVID vaccination card in the United States is the Centers

for Disease Control and Prevention (CDC) COVID-19 Vaccination Record Card. As displayed

below, the title “COVID-19 Vaccination Record Card” appears at the top of the front of the card

and the logos of the U.S. Department of Health and Human Services (HHS) and the CDC are

displayed on the top right corner next to the title.




7.     Recently, increasing numbers of government and privately-owned entities have

implemented requirements or have announced plans to require individuals provide proof of their

COVID-19 vaccination status prior to being admitted to certain locations, as terms of employment,

to avoid being subjected to additional requirements and/or for other purposes. The COVID

vaccination card is one of the primary means by which an individual can provide proof of their



                                                   3
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vaccination status. Such government and privately-owned entities rely upon the authenticity of

the COVID vaccination cards presented to them.

8.     Since the beginning of August 2021, U.S. Customs and Border Protection (CBP) Officers

have seized thousands of fraudulent COVID vaccination cards at international mail facilities and

at express consignment carrier facilities, such as those operated by FedEx Express (FedEx) and

DHL Express (DHL). The majority of the seized shipments found to contain the fraudulent

COVID vaccination cards originated from Asia and were commonly found to be falsely described

on shipping manifests and other records as containing “paper card[s],” “card[s],” “greeting

card[s],” or other terms.

9.     During the course of the investigation, law enforcement seized numerous fraudulent

COVID vaccination cards from an imported shipment intended for SHABAZZ, from a vehicle

owned by SHABAZZ, and recovered from individuals whom SHABAZZ sold to. Upon close

examination, the following misspellings of “COVID-19” were commonly found among the

COVID vaccination cards seized:




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                         Social Media Accounts Utilized by SHABAZZ

10.      In October 2021, law enforcement obtained warrants authorizing searches of multiple

electronic accounts used by SHABAZZ, including:

         x       An Instagram account with usernames: “ybn_ace_” and “ybnace7x”3 (the
                 “SHABAZZ Instagram account”);

         x       A Facebook account with username: “amar.shabazz”4 (the “SHABAZZ Facebook
                 account”); and

         x       Google user account: “ybn.ace777@gmail.com”5 (the “SHABAZZ Google
                 account”).

11.      In April 2021, SHABAZZ became under the supervision of the Maryland Department of

Public Safety and Correctional Services (DPSCS) after being sentenced in the Circuit Court of

Maryland for Baltimore County for possession of child pornography. SHABAZZ provided his

email address and telephone number to DPSCS as the SHABAZZ Google account and (443) 355-

9616 (the “SHABAZZ T-Mobile number”), respectively. The SHABAZZ T-Mobile number

appears on account records for the SHABAZZ Instagram, Facebook, and Google accounts.

12.      Account records identify the account holder of the SHABAZZ Instagram, Facebook, and

Google accounts as “Ybn Ace.” On October 1, 2021, law enforcement searched a basement used

by SHABAZZ and located numerous handwritten notes, including one titled “Rap Name: Ace

YBN.” Among the other handwritten notes recovered were ones titled “Things Im doing when I




3
  See Warrant# 1:21-mj-2843 TMD and 1:21-mj-2973 TMD. On October 3, 2021, the username
for the SHABAZZ Instagram account was changed from “ybn_ace_” to “ybnace7x.”
4
    See Warrant# 1:21-mj-2973 TMD

5
    See Warrant# 1:21-mj-2841 TMD


                                                5
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get out (updated),” “Different options,” and “SCAM Life/Legit.” Within the notes recovered were

statements including:

       x       “Hire a lawyer and get tips of what not to do when getting money illegally, get
               advice and other shit.”
       x       “When I first get outside buy my main phone, then 2 burner androids. First Burner
               is for scamming …”
       x       “Be registered at pops But don’t stay there stay at moms in Basement, visit main
               address a few times so they’ll know I’m there frequently.” 6
       x       “Buy guns from Dark web or [Company A] if for some reason I can’t get my gun
               liseance.”

13.    In October 2021, your Affiant viewed the publicly accessible pages relating to the

SHABAZZ Instagram and Facebook accounts and found both to contain multiple photos of an

individual your Affiant recognized as SHABAZZ. The following photo of SHABAZZ appeared

as the profile photo on both accounts:




6
  Your Affiant has reason to believe that “Be registered” was in reference to SHABAZZ’s
registration on the sex offender registry. As detailed below, SHABAZZ was encountered by law
enforcement during the search of an Owings Mills residence where his mother resides. Located
within the basement were multiple items related to SHABAZZ, including his driver’s license.
                                                6
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14.      Based upon the foregoing, your Affiant submits SHABAZZ personally used and controlled

the SHABAZZ Instagram, Facebook, and Google accounts.

             YouTube Searches and Initial Purchase of COVID Vaccination Cards

15.      On June 10, 2021, a YouTube video search for “fake covid vaccination record card” was

conducted using the SHABAZZ Google account. Within minutes after the search, videos of NBC

News stories titled “Fake Covid Vaccination Cards Circulating In Online Forums” and “Scammers

Work To Sell Fake Covid Vaccination Cards Online” were watched. On June 13, 2021, additional

YouTube video searches were conducted using search terms “vaccination record card” and

“vaccination record card fraud.”

16.      On June 14, 2021, a $15.80 debit from DHgate posted to an M&T Bank checking account

in the name of Amar Salim SHABAZZ (the “SHABAZZ M&T account”). On the next day, an

international shipment assigned tracking number LY804262370CN was accepted and processed

through a facility in China. The shipment was addressed to “MAR S” 7 and was said to contain 20

“PAPER CARDS524456257.” The recipient’s contact phone number was the SHABAZZ T-

Mobile number.

17.      DHgate is a Chinese online wholesale marketplace which your Affiant is aware publicly

offered for sale, among other items, fraudulent COVID vaccination cards. DHgate vendors sold

fraudulent vaccination cards at prices ranging from less than $1 per card to approximately $2 each.

However, significant discounts were available when purchased in bulk.           Shipping options

commonly offered by DHgate vendors include DHL, FedEx, UPS and other services involving the

U.S. Postal Service (USPS).




7
    Your Affiant submits there is cause to believe that “MAR S” is in fact Amar SHABAZZ.


                                                7
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18.      On July 10, 2021, the aforementioned shipment with tracking number LY804262370CN

was delivered by the USPS to 95 Gwynnswood Rd., Owings Mills, Maryland 21117 (the “Owings

Mills residence”). That evening, a nine-second video was posted on the SHABAZZ Instagram

account showing an individual flipping through multiple COVID vaccination cards. The words

“Covid19 vaccination card who want one. $75 a pop” and “DM8 if u want one” were displayed on

the video. The same nine-second video was also posted on the SHABAZZ Facebook account, as

depicted in the screen capture below:




    SHABAZZ’s Social Media Posts and Bulk Purchase of Fraudulent Cards in August 2021

19.      On August 5, 2021, a news article titled “Bars and restaurants in DC to require guests to

show proof of vaccination” was posted by an Instagram user on their page. On the same day,

SHABAZZ posted the comment “I SELL PROOF OF VACCINATION CARDS” in the comments

section of the post.


8
    Your Affiant understands “DM” to be an abbreviation used to mean “Direct Message.”
                                                 8
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20.      Less than 30 minutes later, the following three photos were posted to both the SHABAZZ

Instagram and Facebook accounts, the first one being the same aforementioned news article:




Each of the photos were associated with the statement: “Who need a vaccination card to bypass

the bs they starting to do with our "freedom". DM NOW FOR PRICE ࿧ᶤ.”

21.      Later that day, a YouTube search of “proof of vaccination” was conducted using the

SHABAZZ Google account and a CNBC video titled “N.Y.C. to require proof of vaccination for

indoor dining, concerts and gyms” was watched. Within seconds of the video being watched, the

comment “I SELL VACCINATION CARDS” was posted in the comments section of the same

video.

22.      On August 6, 2021 and August 7, 2021, the following were posted on the SHABAZZ

Facebook and Instagram accounts, respectively:




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23.    A few days later, on August 10, 2021, the following appeared on the same accounts:




24.    That same day, a $130 debit from DHgate posted to the SHABAZZ M&T account. In the

evening, the following messages were sent between SHABAZZ and Person A through Instagram:

               SHABAZZ:              Made 300 today
               SHABAZZ:              I’m sold out
               Person A:             Ohh
               SHABAZZ:              Just bought 500 more cards
               SHABAZZ:              60x500 is $30k
               Person A:             Tru
               SHABAZZ:              I’m gonna be rich

Your Affiant has reason to believe the conversation above was in reference to SHABAZZ’s earlier

bulk purchase of fraudulent COVID vaccination cards through DHgate and his anticipated

proceeds from its subsequent sale.

25.    On August 12, 2021 and August 13, 2021, additional YouTube video searches were

conducted through the SHABAZZ Google account using the terms “selling vaccination cards” and

“covid scams.” YouTube videos with the following titles were watched as a result of the searches

conducted:

       x       “Fake vaccine cards hit the black market CNBC Television”
       x       “Feds: Naturopathic Physician Sold Fake COVID-19 Vaccine Cards NBC Bay
               Area”


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         x       “Bar Owner Accused Of Selling Fake COVID Vaccine Cards CBS Sacramento”
         x       “State cracks down on fake vaccine cards NewsChannel 5”
         x       “Fake Covid-19 Vaccines: What to Know About Counterfeit Shots Sold Online |
                 WSJ Wall Street Journal”

26.      In addition to the videos listed above, an NBC News video titled “Scammers Work To

Sell Fake Covid Vaccination Cards Online” was also watched. Within minutes after the video

was viewed, the following were posted in the comments section of the video using the

SHABAZZ Google account:
                  Published Time                              Text

              2021-08-13 04:38:33 UTC             Hmu9 Instagram @ybn_ace_

              2021-08-13 04:39:44 UTC        Hmu @ybn_ace_ Instagram I got them

              2021-08-13 04:39:52 UTC        Hmu @ybn_ace_ Instagram I got them

              2021-08-13 04:40:18 UTC        Hmu @ybn_ace_ Instagram I got them



27.      On August 14, 2021, Person A sent SHABAZZ, through Instagram, a photo of a

television news story pertaining to an individual arrested at an airport due to a fake COVID

vaccination card. The following messages between SHABAZZ and Person A ensued:

                        Person A:            One of ya ppl got in trouble lmao , fck tht
                        ***
                        SHABAZZ:             Oh shit
                        SHABAZZ:             I wonder how they got caught tho yo
                        ***
                        Person A:            Better hope he dnt tell em where he got it from
                        SHABAZZ:             Ion think that’s my card tho


9
    Your Affiant understands “Hmu” to be an abbreviation used to mean “hit me up.”


                                               11
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                       SHABAZZ:              That shit look like paper
                       Person A:             Wat ya card look like?
                       SHABAZZ:              Index
                       Person A:             Lemme see
                       SHABAZZ:              I’m outraged stock
                       SHABAZZ:              Outta *


       Seizure of DHL Shipment Containing 503 Fraudulent COVID Vaccination Cards

28.      On August 19, 2021, CBP Officers at the DHL International Facility in Erlanger, Kentucky

examined an international shipment assigned tracking number 8216896461.           The shipment

originated from Hong Kong and was addressed to “MAR SHA” 10 at the Owings Mills residence.

The recipient’s contact phone number was the SHABAZZ T-Mobile number. The shipment was

said to contain 500 “paper cards.” Upon examination, CBP Officers found the shipment to actually

contain 503 COVID vaccination cards, determined them to be fraudulent and seized the shipment.

29.      On August 19, 2021, the day the DHL shipment was examined by CBP, the following

status updates pertaining to the shipment were viewable on DHL’s website by anyone who had the

shipment tracking number:




10
     Your Affiant submits there is cause to believe that “MAR SHA” is in fact Amar SHABAZZ.


                                                12
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30.    On the same day, the following YouTube video searches were conducted using the

SHABAZZ Google account and the following videos were watched:

       x       Searched for: “customs inspection packages VACCINATION cards”

                     ¾       Watched: “FBI investigating fake vaccination cards WWLP-
                             22News”

                     ¾       Watched: “Counterfeit vaccination cards found WKRN News 2”

       x       Searched for: “us customs VACCINATION cards”

       x       Searched for: “clearance event dhl”

                     ¾       Watched: “**SOLVED** DHL CUSTOMS CLEARANCE
                             EVENT ***ESCAPE PLAN*** FULL PROCESS. CUSTOMS
                             SEIZED. EASY PROCESS”

                     ¾       Watched: “If my parcel is seized by Customs what should i do?
                             DHgate”

31.    SHABAZZ additionally posted the following on the SHABAZZ Facebook account:




32.    On August 24, 2021, DHL received a phone call from the SHABAZZ T-Mobile number.

According to a recording of the call, the caller identified himself as “Amar” and stated he was

calling regarding a DHL shipment with tracking number 8216896461, the seized shipment

containing the fraudulent COVID vaccination cards. When asked for his phone number and

address, “Amar” provided DHL with the SHABAZZ T-Mobile number and the Owings Mills

residence, respectively.




                                               13
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33.       On the same day, law enforcement replaced the original contents of the seized DHL

shipment - the 503 fraudulent COVID vaccination cards - with the box of disposable face masks

and two individually packaged face masks depicted below:




Your Affiant placed discreet markings on each of the items, repackaged the shipment, and placed

the shipment outside the front door of the Owings Mills residence.

34.       Later that evening, the following messages were sent between SHABAZZ and Person A

through Instagram:

                        SHABAZZ:               My mom got my cards in her mailbox and she ain’t
                                               tryna give it to me
                        Person A:              Lmao
                        Person A:              She tired of you sellin fake stuff and getting yaself
                                               in trouble.
                        SHABAZZ:               Real shit yo
                        SHABAZZ:               Idgaf11 bout nun of that shit yo
                        Person A:              His home


11
     Your Affiant understands “Idgaf” to be an abbreviation used to mean “I don’t give a fuck.”


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                        SHABAZZ:             I need my shit and I’m heated
                        SHABAZZ:             Neva got caught from tht shit

35.      On the next day, SHABAZZ sent a 14-second video through an Instagram message to

multiple individuals. In the video, SHABAZZ stated: “Can you believe this man? I opened up

the fuckin’ pack yo. Look yo. I got masks yo. No fuckin’ cards. I got masks yo. Shit crazy yo.”

while displaying the box of disposable face masks and two individually packaged face masks

depicted in the screen capture below:




36.      Seconds after sending the video, SHABAZZ sent the following additional messages:

                        SHABAZZ:             I got some fucking mask
                        SHABAZZ:             Shit UNBELIEVABLE
                        SHABAZZ:             I mad as hell yo smh12 I paid $13013 wtf


12
     Your Affiant understands “smh” to be an abbreviation used to mean “shaking my head.”
13
  As aforementioned above, a $130 debit from DHgate posted to the SHABAZZ M&T account
on August 10, 2021.
                                               15
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                      ***
                      SHABAZZ:              I was waiting for my cards to come and I got u a
                                            bunch of mask instead

37.    Your Affiant submits the box of disposable face masks and the two individually packaged

face masks depicted in SHABAZZ’s video are visually identical to the items your Affiant replaced

the contents of the seized DHL shipment with. In addition, as further detailed below, during a

search of the Owings Mills residence on October 1, 2021, the box of disposable face masks was

located in a basement bedroom used by SHABAZZ and was found to contain the same discreet

markings your Affiant had placed.

              Additional Purchases of Fraudulent COVID Vaccination Cards

38.    On August 26, 2021, a $68.57 debit from DHgate posted to the SHABAZZ M&T account.

On the following day, an international shipment assigned DHL tracking number 1044166863 was

picked up and processed through at a facility in Hong Kong. The shipment was addressed to “ACE

BOOGIE,” but listed the SHABAZZ T-Mobile number as the recipient’s telephone number. The

shipment was said to contain 50 “STICKERS” and was delivered by DHL to the Owings Mills

residence on August 31, 2021 at 11:57 AM.

39.    On August 31, 2021, at 1:07 PM, another international shipment assigned tracking number

LY850819903CN was delivered by USPS to the Owings Mills residence. The shipment originated

from China, was addressed to “MAR S,” and listed the SHABAZZ T-Mobile number as the

recipient’s contact phone number. The shipment was said to contain “PAPER CARD.”

40.    That evening, after the DHL and USPS shipments had been delivered, the following was

posted to the SHABAZZ Instagram account:




                                              16
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41.     Minutes after the post, Person A sent SHABAZZ, through Instagram, an NPR news article

titled “Fake COVID Vaccine Cards Are Being Sold Online. Using One Is A Crime.” In response,

SHABAZZ stated:




42.     Throughout September 2021, SHABAZZ continued to offer the sale of fraudulent COVID

vaccination cards through multiple posts on the SHABAZZ Instagram account, including the

following on the dates indicated:




      September 4, 2021             September 13, 2021               September 23, 2021

                                             17
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                     Examination of DHL Shipment in September 2021

43.    On September 14, 2021, the following YouTube video searches were conducted through

the SHABAZZ Google account and the following videos were watched:

       x       Searched for: “documents dhgate”
       x       Searched for: “vax cards”
                    ¾         Watched: “How to spot a fake COVID-19 vaccine card WUSA9”

                    ¾         Watched: “Are Counterfeit Vaccination Cards the Next Big Scam?
                              Inside Edition”

44.    Two days later, Person A sent SHABAZZ, through Instagram, a photo of a WebMD article

titled “Two Women Charged in Fake COVID Vaccination Card Scam.” Visible in the photo was

information indicating one of the defendants had sold approximately 250 fraudulent vaccination

cards for $200 each. Shortly thereafter, SHABAZZ responded with multiple voice messages in

which he stated, not verbatim, the following:

               At 8:17 PM: Yo what the fuck? Yo they selling them bitches for 200 a pop?
                              God damn! Yo I know they eatin yo!

               At 8:17 PM:    200 a pop times 250? Yo that’s bank yo! I’m gonna raise my
                              prices up yo.

               At 8:18 PM:    Yo, 200 a pop times 250 is 50 racks. I know-I know already-I
                              [unintelligible] probably sold that much already but I could’ve had
                              50 thousand dollars yo?

               At 8:18 PM:    Yo real shit yo. I’m raising my price today, starting today, man.
                              Real shit yo. Yo, no more 60 a piece yo.14 I want that 200 a piece
                              yo! Yo they makin’ cheese yo!

14
   As displayed above in the Instagram posts on September 13, 2021 and September 23, 2021,
SHABAZZ was offering the sale of fraudulent COVID vaccination cards for $60 each during
this time period.


                                                18
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45.    On September 20, 2021, a $68.57 debit from DHgate posted to the SHABAZZ M&T

account.    On the following day, an international shipment assigned DHL tracking number

3298397465 was picked up and processed through a facility in Hong Kong. The shipment was

addressed to “KEVIN ANDERSON,”15 but listed the SHABAZZ T-Mobile number as the

recipient’s telephone number. The shipment was said to contain “CHRISTMAS DECORATION.”

46.    On September 23, 2021, the DHL shipment was intercepted and upon examination, was

found to actually contain 51 fraudulent COVID vaccination cards. Your Affiant placed discreet

markings on each of the fraudulent COVID vaccination cards, repackaged them and released the

shipment to DHL for delivery to the intended address. The shipment was delivered by DHL to the

Owings Mills residence on the evening of September 24, 2021.

            SHABAZZ’s Distribution of COVID Vaccination Cards Through UPS

47.    SHABAZZ sold multiple fraudulent COVID vaccination cards to individuals he met and

communicated with through social media. In each of the instances further detailed below,

SHABAZZ went to The UPS Store in Owings Mills, Maryland (the “Owings Mills UPS Store”)

and shipped the fraudulent COVID vaccination cards through UPS, a commercial interstate carrier.

SHABAZZ used the name “Kevin Anderson” as the sender for each of the shipments below.

                             The 9/10/2021 UPS Shipment to M.V.

48.    On September 10, 2021, the following searches were conducted using the SHABAZZ

Google account:

               At 5:56 PM: “ups owings mills”

               At 6:32 PM: “does ups look inside packages”



15
  As further detailed below, the name “Kevin Anderson” was also used on UPS shipments
SHABAZZ sent to individuals he sold fraudulent COVID vaccination cards to and also on a
Venmo account used in furtherance of the fraud.
                                              19
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49.    At 6:37 PM that same evening, a debit card in the name of Amar Salim SHABAZZ and

ending in 468316 (“the SHABAZZ M&T debit card”) was used at the Owings Mills UPS Store for

the purchase of a mailer envelope. Thirteen minutes later, the SHABAZZ M&T debit card was

used again at the same UPS store to pay shipping costs related to a shipment sent via UPS from

“KEVIN ANDERSON” and intended for M.V., an individual residing in New Jersey.

50.    When interviewed by law enforcement, M.V. stated she purchased a COVID vaccination

card from an individual she communicated with through Instagram, an individual using the

SHABAZZ Instagram account. M.V. became aware of the SHABAZZ Instagram account after

watching a YouTube video about COVID vaccines and vaccination cards and observing a

comment in the comments section of the video directing individuals seeking COVID vaccination

cards to the SHABAZZ Instagram account. M.V. sent a message to the SHABAZZ Instagram

account shortly thereafter. M.V. was instructed to send payment for the vaccination card, in the

amount of $75, to a CashApp account owned by Person A. Approximately 2-3 days after the order

was placed, M.V. received a UPS shipment containing the COVID vaccination card she ordered

and one additional card. M.V. provided law enforcement with the two vaccination cards she

received, which were determined to be fraudulent.

                            The 9/17/2021 UPS Shipment to D.W.

51.    On September 17, 2021, at 4:27 PM, the SHABAZZ M&T debit card was used at the

Owings Mills UPS Store for the purchase of a mailer envelope. Later, at 4:34 PM and 4:55 PM,

SHABAZZ withdrew $15 from the SHABAZZ M&T account through two transactions, both at an

ATM located near the Owings Mills UPS Store. Surveillance videos show SHABAZZ conducting




16
  A debit card ending in 4683 was issued by M&T Bank and linked to the SHABAZZ M&T
account.
                                              20
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the transactions. At 5:04 PM, a shipment was sent through the Owings Mills UPS Store from

“KEVIN ANDERSON” and intended for D.W., an individual residing in North Carolina. The

UPS shipping costs were paid for with $15 in cash.

52.    When interviewed by law enforcement, D.W. stated he purchased two COVID vaccination

cards from an individual he originally learned of through YouTube but later communicated with

through Instagram.    The individual with whom D.W. communicated used the SHABAZZ

Instagram account. D.W. was originally instructed to send payment for the vaccination cards, in

the amount of $100, to a CashApp account owned by Person A. However, an error was

encountered and payment was ultimately sent through Venmo. Venmo records indicate the $100

was received into an account currently in the name of “kevin Anderson.”17 However, SHABAZZ’s

date of birth, social security number, and the SHABAZZ T-Mobile number are associated to the

account. Immediately after the $100 was received into the “kevin Anderson” Venmo account,

$98.50 was paid-out and deposited into the SHABAZZ M&T account.

53.    D.W. provided law enforcement with the two COVID vaccination cards he received, which

were determined to be fraudulent. D.W. also provided law enforcement with the envelope used to

ship the vaccination cards he received. The envelope contained a UPS shipping label which

indicated the shipment was sent by “KEVIN ANDERSON” through the Owings Mills UPS Store.

                             The 9/28/2021 UPS Shipment to S.E.

54.    On September 28, 2021, at 5:31 PM, the SHABAZZ M&T debit card was used at the

Owings Mills UPS Store for the purchase of a mailer envelope. At 5:44 PM, an ATM withdrawal

in the amount of $15 was conducted from the SHABAZZ M&T account at an ATM located near




17
  Venmo records indicate the account holder name for the Venmo account was changed on
September 17, 2021 from “mar s” to “kevin Anderson.”
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the Owings Mills UPS Store. Surveillance video shows SHABAZZ conducting the transaction.

At 5:50 PM, a shipment was sent through the Owings Mills UPS Store from “KEVIN

ANDERSON” and intended for S.E., an individual residing in Illinois. The UPS shipping costs

were paid for with $15 in cash.

55.      When interviewed by law enforcement, S.E. stated he purchased a COVID vaccination

card from an individual he became aware of through YouTube but later communicated with

through Instagram. On September 28, 2021, $70 was paid from a Venmo account associated to

S.E. and received into the “kevin Anderson” Venmo account. Shortly thereafter, $68.95 was paid-

out and deposited into the SHABAZZ M&T account.

56.      S.E. provided law enforcement with the COVID vaccination card he received, which was

determined to be fraudulent. In addition, the fraudulent vaccination card S.E. received contained

the same discreet markings your Affiant placed on the fraudulent vaccination cards found within

the DHL shipment intercepted and examined on September 23, 2021.

                        Search Warrants Executed on October 1, 2021

57.      On September 30, 2021, the Honorable Thomas M. DiGirolamo of the United States

District Court for the District of Maryland issued multiple warrants related to this investigation,

including warrants authorizing the search of the Owings Mills residence18 and a Lexus vehicle

owned by SHABAZZ19 (“SHABAZZ’s Lexus”).

58.      The next morning, law enforcement conducted a search of the Owings Mills residence

pursuant to the warrant issued. SHABAZZ was present at the time of the search, along with his




18
     See Warrant # 1:21-mj-2727 TMD.
19
     See Warrant# 1:21-mj-2729 TMD.


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mother and two other individuals. Within the basement of the Owings Mills residence was a

furnished bedroom and half-bathroom. The basement bedroom contained clothing, a television

and gaming system, cellular telephones, and other items indicative of current occupancy. On a

nightstand next to the bed, law enforcement located SHABAZZ’s Maryland driver’s license and

the SHABAZZ M&T debit card. Within a closet in the basement, law enforcement located

numerous handwritten notes, including the ones detailed above titled “Rap Name: Ace YBN,”

“Things Im doing when I get out (updated),” “Different options,” and “SCAM Life/Legit.”

59.    At the time of the search, SHABAZZ’s Lexus was parked in front of the Owings Mills

residence.    Within the center console, between the driver’s seat and passenger seat, law

enforcement located 86 fraudulent COVID vaccination cards. 46 of the fraudulent vaccination

cards contained the discreet markings your Affiant placed on the vaccination cards found within

the DHL shipment intercepted and examined on September 23, 2021.

60.    Also located within SHABAZZ’s Lexus were two receipts from the Owings Mills UPS

Store. The receipts pertained to payments for UPS shipping costs related to the shipments sent to

M.V. in New Jersey and D.W. in North Carolina, both shipments which contained fraudulent

COVID vaccination cards.

61.    On October 1, 2021 and October 2, 2021, after the searches of the Owings Mills residence

and SHABAZZ’s Lexus were completed, multiple Google searches were conducted through the

SHABAZZ Google account, including searches using the terms:

       x       “vaccine card sentence”
       x       “fake covid19 cards penalties”
       x       “vaccination cards fraud penalty”




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                       Statements Made by SHABAZZ through Social Media

62.       On October 3, 2021, the following messages were sent between SHABAZZ and Person B

through Instagram:

                 SHABAZZ:              The feds kicked in my door on Friday I might be going to
                                       jail soon hopefully not
                 Person B:             For what lol
                 SHABAZZ:              The vaccination cards
                 SHABAZZ:              They took everything my id my credit card & my tags
                                       …ion got shit now
                 Person B:             Ni[**]a why would you do that now they finna lock you up
                 SHABAZZ:              Smh idek20 man I’m getting a lawyer hopefully tomorrow
                 SHABAZZ:              And I’m on probation
                 SHABAZZ:              I can’t say too much on here but that shit was dumb jai
                 Person B:             I could’ve told you that one
                 SHABAZZ:              Yeah smh ዏ
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                                                ዐ


63.       On October 5, 2021, the following messages were sent between SHABAZZ and Person C

through Instagram:

                 SHABAZZ:              I’m facing federal time
                 ***
                 Person C:             What u mean fed time
                 SHABAZZ:              Dumbass vaccination cards
                 ***
                 Person C:             What they even charging u wit
                 SHABAZZ:              Idk yet but I think it’s sending it thru the mail and
                                       possession




20
     Your Affiant understands “idek” to be an abbreviation used to mean “I don’t even know.”
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                              SHABAZZ’s Obstruction of Justice

64.    As detailed above, law enforcement executed federal search warrants relating to this

investigation on October 1, 2021. To your Affiant’s knowledge, SHABAZZ was unaware of the

investigation prior to this date. In the days immediately thereafter, SHABAZZ engaged in multiple

acts which your Affiant submits constitutes efforts to obstruct the investigation being conducted.

65.    On October 2, 2021, a Google search for “dhgate delete account” was conducted using the

SHABAZZ Google account and a website titled “How To Delete DHGate Account | Cancel

Account – LOGINHIT” was visited.

66.    On October 3, 2021, at 03:05 AM, Facebook records indicate the username associated to

the SHABAZZ Instagram account was changed from “ybn_ace_” to “ybnace7x” by a device using

internet protocol version 6 (IPv6) address 2607:fb90:1819:047c:5cb1:d8d9:754c:1a12. T-Mobile

records reflect the IPv6 network address was assigned to the SHABAZZ T-Mobile number on the

date and time the username was changed.          As discussed above, SHABAZZ had directed

individuals seeking COVID vaccination cards to contact him on Instagram at username

“ybn_ace_.” SHABAZZ, in fact, communicated with individuals he ultimately sold fraudulent

vaccination cards to through the Instagram account.

67.    On October 3, 2021, at 08:41 PM, Google records indicate the SHABAZZ Google account

was deleted by a device using IPv6 address 2607:fb90:64ea:6aa5:c5bc:cc6:c759:3479. T-Mobile

records reflect the IPv6 network address was assigned to the SHABAZZ T-Mobile number on the

date and time the SHABAZZ Google account was deleted. As detailed within this affidavit,

SHABAZZ extensively used the Google account he then deleted to facilitate and further the fraud

scheme, including by: 1) posting comments on YouTube videos advertising the sale of COVID

vaccination cards, 2) directing YouTube users seeking COVID vaccination cards to contact him at



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the SHABAZZ Instagram account, 3) conducting Google and YouTube searches pertaining to

fraudulent COVID vaccination cards and its sale, 4) researching penalties for fraud involving

COVID vaccination cards, and 5) researching how to delete other accounts he used in furtherance

of the fraud.

68.    Your Affiant submits the records and information contained within the Google account,

including information pertaining to the account’s use, is relevant and material to an official federal

investigation, to wit, the investigation being conducted by HSI, USPIS, and HHS-OIG into

SHABAZZ for the offenses and conduct detailed within this affidavit.


                                          CONCLUSION

69.    Based upon the foregoing, your Affiant submits there is probable cause to believe that

violations of Mail Fraud (18 U.S.C. § 1341) and Obstruction of Justice (18 U.S.C. § 1519) have

been committed and that SHABAZZ committed them. Accordingly, your Affiant makes this

affidavit in support of a Criminal Complaint charging Amar Salim SHABAZZ with one count each

of the aforementioned criminal offenses.

       The foregoing is true and correct to the best of my knowledge and belief.


                                               Respectfully submitted,

                                                               Digitally signed by
                                                               Michael Shao
                                               Michael Shao    Date: 2021.11.22 15:53:14
                                               ________________________________
                                                               -05'00'
                                               Michael Shao
                                               Special Agent
                                               Homeland Security Investigations (HSI)




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Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
                              24th day of _________________,
Fed. R. Crim. P. 4.1 this ________           November            2021.




__________________________________________
HON. A. DAVID COPPERTHITE
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF MARYLAND




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